                                                                                                 1 Tracy Green (Bar No. 114876)
                                                                                                   WENDEL ROSEN LLP
                                                                                                 2 1111 Broadway, 24th Floor
                                                                                                   Oakland, California 94607-4036
                                                                                                 3 Telephone: (510) 834-6600
                                                                                                   Fax: (510) 834-1928
                                                                                                 4 Email: tgreen@wendel.com

                                                                                                 5 Attorneys for Debtor

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                                                                                                 8                              UNITED STATES BANKRUPTCY COURT

                                                                                                 9                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                                10                                       OAKLAND DIVISION

                                                                                                11

                                                                                                12 In re                                                Case No. 19-40193-RLE
                                                       O akland, Ca lif or ni a 946 07-4 036
                     1111 Bro adw ay, 24 t h F lo or
  Wendel Rosen LLP




                                                                                                13 PACIFIC STEEL CASTING COMPANY,                       Chapter 7
                                                                                                   LLC,
                                                                                                14
                                                                                                                   Debtor.
                                                                                                15                                                      NOTICE OF CHANGE OF FIRM NAME

                                                                                                16

                                                                                                17 TO:      CLERK OF THE BANKRUPTCY COURT AND ALL PARTIES OF RECORD:

                                                                                                18          PLEASE TAKE NOTICE that effective immediately the law firm Wendel, Rosen, Black

                                                                                                19 & Dean LLP has changed its name to Wendel Rosen LLP. All contact information, including the

                                                                                                20 office address, telephone and facsimile numbers, and email addresses, remain the same.

                                                                                                21

                                                                                                22 DATED: July 16, 2019                       WENDEL ROSEN LLP

                                                                                                23
                                                                                                                                              By:           /s/ Tracy Green
                                                                                                24                                                   Tracy Green
                                                                                                                                                     Attorneys for Debtor
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022354.002/5354527v1                                                                                 NOTICE OF CHANGE OF FIRM NAME
                                                                                               Case: 19-40193      Doc# 32      Filed: 07/16/19        1
                                                                                                                                                    Entered: 07/16/19 15:31:00   Page 1 of 2
                                                                                                              1                                          CERTIFICATE OF SERVICE
                                                                                                              2
                                                                                                                               I, Pam Joakimson, declare:
                                                                                                              3
                                                                                                                               I am a citizen of the United States and am employed in the County of Alameda. I am over
                                                                                                              4
                                                                                                                  the age of 18 years and not a party to the within-entitled action. My business address is 1111
                                                                                                              5
                                                                                                                  Broadway, 24th Floor, Oakland, California, 94607-4036.
                                                                                                              6
                                                                                                                               On the date set forth below I caused to be served the following document(s):
                                                                                                              7

                                                                                                              8
                                                                                                                                                    NOTICE OF CHANGE OF FIRM NAME
                                                                                                              9

                                                                                                             10 on each party listed below in the following manner:

                                                                                                             11 [X]          by ECF to those parties who are on the electronic notification list for this case.
Wendel, Rosen, Black & Dean LLP




                                                                                                             12
                                                                    O akland, Ca lif or ni a 946 07-4 036




                                                                                                                               I declare under penalty of perjury under the laws of the State of California and the United
                                  1111 Bro adw ay, 24 t h F lo or




                                                                                                             13

                                                                                                             14 States of America that the foregoing is true and correct, and that this declaration was executed on

                                                                                                             15 July 16, 2019, at Oakland, California.

                                                                                                             16

                                                                                                             17                                                                /s/ Pam Joakimson
                                                                                                                                                                               Pam Joakimson
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